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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

ROBERT 0. DINKINS,                                )
                                                  )
                  Plaintiff,                      )
                                                  )
       V.                                         )           No. 4:20-cv-00809-JAR
                                                  )
STA TE OF MO, et al. ,                            )
                                                  )
                                                  )
                  Defendants.                     )

                                  MEMORANDUM AND ORDER

       This matter comes before the Court on fi ve motions filed by plaintiff Robert 0. Dinkins

following the dismissal of his case on October 1, 2020. (Docket Nos. 7-11). For the reasons

discussed below, the motions will be denied.

                                             Discussion

       On October 1, 2020, the Court reviewed plaintiffs in forma pauperis complaint pursuant

to 28 U.S.C. § 1915. (Docket No. 3). Following this review, the Court dismissed the action without

prejudice. (Docket No. 4). On October 14, 2020, plaintiff filed five separate post-dismissal motions

with the Court.

       In the first motion, plaintiff seeks review of the Court' s judgment in dismissing his case.

(Docket No. 7). The second motion, titled " motion of ineffective assistance of counsel," argues

that plaintiffs defense attorney was ineffective because plaintiff was only seventeen years old

when his crime was committed and his sentenced enhanced under the Armed Career Criminal Act.

(Docket No. 8). The third motion, titled "motion of error and affidavit," contends that defendants

subjected him to cruel and unusual punishment, due process violations, and denied him equal

access and protection of the law. (Docket No. 9). As such, plaintiff states that the Court's dismissal
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of his complaint was wrongful. Plaintiffs fourth motion is titled "motion of appeal from a

judgment," and repeats plaintiffs assertion that his case should not have been dismissed. (Docket

No. 10). Finally, in plaintiffs fifth motion, a "motion [to] re-litigate affirmative defenses," plaintiff

states that he has new evidence showing he is factually innocent of the crime for which he was

convicted and sentenced. (Docket No. 11 ).

        Taken together, all of plaintiffs motions seek to have the Court reconsider its dismissal of

his civil action. After reviewing each motion, however, the Court will decline to alter or amend its

judgment. The Court concludes that plaintiffs motions fail to point to any manifest errors of law

or fact, or any newly discovered evidence. Instead, the motions revisit the arguments and

contentions plaintiff made in his initial filing. Therefore, the motions will be dismissed.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiffs motion to amend sentence and dismiss

(Docket No. 7), motion for ineffective assistance of counsel (Docket No. 8), motion of error and

affidavit (Docket No. 9), motion of appeal from a judgment (Docket No. 10), and motion to

relitigate affirmative defenses (Docket No. 11) is DENIED.

        IT IS FURTHER ORDERED that an appeal from the denial of these motions would not

be taken in good faith.

        Dated this 19th day of October, 2020.



                                                             . ROSS
                                                            D STATES DISTRICT JUDGE




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